Case 23-30035-mvl7           Doc 35    Filed 04/21/23 Entered 04/21/23 10:03:43          Desc Main
                                      Document      Page 1 of 2


Kenneth A. Hill
Quilling, Selander, Lownds,
  Winslett & Moser, P.C.
2001 Bryan Street, Suite 1800
Dallas, Texas 75201
(214) 871-2100 (Telephone)
(214) 871-2111 (Facsimile)
ATTORNEYS FOR THE TRUSTEE

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 IN RE:                                            §
                                                   §
 ANIMO SERVICES, LLC,                              §           CASE NO. 23-30035-mvl7
                                                   §
 DEBTOR.                                           §

                   SUPPLEMENTAL CERTIFICATE OF CONFERENCE ON
                  MOTION TO COMPEL TOBY NEUGEBAUER TO APPEAR
                   ON BEHALF OF THE DEBTOR FOR EXAMINATION AND
                  TESTIFY AT THE CONTINUED MEETING OF CREDITORS

TO THE HONORABLE MICHELLE V. LARSON, UNITED STATES BANKRUPTCY
JUDGE:

            Areya Holder Aurzada (the “Trustee”), in her capacity as the chapter 7 trustee for Animo

Services, LLC (the “Debtor”), hereby supplements the Certificate of Conference in her Motion to

Compel Toby Neugebauer to Appear on Behalf of the Debtor for Examination and Testify at the

Continued Meeting of Creditors (Dkt. No. 33) as follows:

            I further certify that I conferred with Bruce Ruzinsky, attorney for Toby
            Neugebauer, by telephone and email on April 20, 2023, and he stated that Mr.
            Neugebauer opposes the relief requested in the Motion. The Trustee and Mr.
            Neugebauer are working on scheduling a videoconference meeting to confer further
            about the relief requested in the Motion.

                                                 /s/ Kenneth A. Hill
                                                Kenneth A. Hill




SUPPLEMENTAL CERTIFICATE OF CONFERENCE                                                         PAGE 1
6239702.1
Case 23-30035-mvl7          Doc 35    Filed 04/21/23 Entered 04/21/23 10:03:43         Desc Main
                                     Document      Page 2 of 2



                                              Respectfully submitted,

                                              QUILLING, SELANDER, LOWNDS,
                                                WINSLETT & MOSER, P.C.
                                              2001 Bryan Street, Suite 1800
                                              Dallas, Texas 75201
                                              (214) 871-2100 (Telephone)
                                              (214) 871-2111 (Facsimile)

                                              By: /s/ Kenneth A. Hill
                                                     Kenneth A. Hill
                                                     State Bar No. 09646950
                                              ATTORNEYS FOR THE TRUSTEE

                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served
concurrently with the filing of the same (a) via the Court’s CM/ECF noticing system upon all
persons who have filed ECF appearances in this case and (b) via first class mail, postage prepaid,
on the following:

            Clay M. Taylor
            Bonds Ellis Eppich Schafer Jones LLP
            420 Throckmorton Street
            Suite 1000
            Fort Worth, TX 76102

                                               /s/ Kenneth A. Hill
                                              Kenneth A. Hill




SUPPLEMENTAL CERTIFICATE OF CONFERENCE                                                     PAGE 2
6239702.1
